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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------x
Francisco Javier Casablanca-Torres,
                             Plaintiff,                           21-cv-10832 (LAK)
  v.

City of New York, et al.,

                     Defendants..
-----------------------------x

                                   ORDER RE SCHEDULING AND
                                 INITIAL PRETRIAL CONFERENCE

KAPLAN, District Judge.

       This action is withdrawn from participation in Local Civil Rule 83.10.

Dated: December 21, 2021

                                                                  /s/

                                                          Lewis A. Kaplan
                                                     United States District Judge
